THE plaintiff held a mortgage against the defendant upon which ascire facias had been issued on the third day of October, returnable at this term, and on the same day had filed his affidavit of the cause of action, but the abstract of the mortgage was not filed until the seventeenth day of the month. No affidavit of defense having been filed, the counsel for the plaintiff now moved for judgment on that ground, to which the counsel for the defendant objected because the abstract of the mortgage had not been filed on the same day with the affidavit of the cause of action, and appended to it as it should have been in order to establish and identify the reference of the latter to the former, and as had heretofore been uniformly done in such cases.
The Court sustained the objection and refused the motion for judgment, and Comegys, C. J., remarked that it had been the uniform practice throughout the State to file them together at the same time, and the court were not inclined to sanction a departure from it at this late day.